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                           UNITED STATES DISTRICT COURT
                               DISTRICT OF COLUMBIA

  ESTATE OF AMER FAKHOURY, et al.,

                                 Plaintiffs,
                                                      Case No. 1:21-cv-01218-JDB
         v.

  THE ISLAMIC REPUBLIC OF IRAN,

                                 Defendant.



      Proposed Intervenor the General Directorate of General Security of Lebanon’s
                     Motion for Limited Intervention and to Strike




Dated: November 29, 2021
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       The General Directorate of General Security of Lebanon (“GDGS” or “General

Directorate”), a nonparty in the above-captioned action by and through its attorneys, hereby

move this Court for an Order granting leave to intervene pursuant to Fed. R. Civ. P. 24 for the

limited purpose of moving to strike the allegations made against it in the complaint filed herein

(at paragraphs 48-55, 62), pursuant to Fed. R. Civ. P. 12(f) on the grounds that they are false,

impertinent and scandalous. For the reasons set forth in the Statement of Points and Authorities

below, GDGS requests that the instant motion be granted.

       Pursuant to LCvR 7(m), counsel for GDGS conferred with counsel for Plaintiffs, Richard

Tolchin, Esq. on November 24 and 29, 2021 in good faith regarding the anticipated motion. As a

result of those discussions, counsel for Plaintiffs indicated that they oppose the requested relief.


                      STATEMENT OF POINTS AND AUTHORITIES

                                        INTRODUCTION

       The General Directorate of General Security of Lebanon (“GDGS” or “General

Directorate”), a nonparty in the above-captioned action, is the victim of scandalous, immaterial,

and impertinent allegations made in Plaintiffs’ complaint, which seeks retribution from Iran

under the Foreign Sovereign Immunities Act (“FSIA”). GDGS is an apolitical, executive agency

in Lebanon, whose role and functions are akin to the U.S. Department of Homeland Security. It

is an intelligence agency that, inter alia, monitors and secures the country’s borders, distributes

and reviews passports and visas, and conducts preliminary investigations related to duties.

       The objectionable provisions of the Complaint (paragraphs 48-55, 62) concern GDGS

and its general director, Major General Abbas Ibrahim (“Director Ibrahim”), a decorated and

award-winning diplomat. According to those provisions, GDGS and Director Ibrahim somehow

are connected in the “kidnapping,” “torture,” and “extrajudicial killing” of Amer Fakhoury (“Mr.



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Fakhoury”), a Lebanese expatriate and accused military felon who had been the subject of legal,

judicial, and security prosecutions in Lebanon and who traveled to Lebanon for the first time in

twenty years with a brand-new U.S. passport. To be clear, these allegations are demonstrably

false and serve no purpose but to tarnish the stellar reputations of GDGS and Director Ibrahim.

More crucially, the allegations regarding GDGS have no relevance to the present action, which

concerns Iran’s alleged directing, aiding, and abetting of terror activities of Hezbollah in

Lebanon and seeks to hold Iran responsible for whatever happened to Mr. Fakhoury while he

was in Lebanon.

       Plaintiffs filed suit under FSIA’s terrorism exception to sovereign immunity, seeking to

hold Iran (and only Iran) liable for conduct by two unrelated Lebanese entities, GDGS (who

investigated Mr. Fakhoury for less than one day) and a Lebanese military prison (where Mr.

Fakhoury was confined for several months), which Plaintiffs allege were “Hezbollah-backed”

and amounted to hostage-taking, torture and killing of Mr. Fakhoury. However, Mr. Fakhoury

died of lymphatic cancer, in the United States, months after his release and return from abroad.

Moreover, the routine, limited, official, and ministerial functions of GDGS regarding its

investigation of Mr. Fakhoury’s attempted re-entry into Lebanon in 2019, while false, do not rise

to the level of hostage-taking, torture or killing under the FSIA.

       Whether or not the Court permits GDGS to intervene for purposes of this motion, the

Court may strike immaterial and completely unrelated allegations on its own. Here, the

Plaintiffs’ allegations concerning GDGS accuse it of serious crimes and acting as agents of

designated terrorist organizations. Not only are these allegations categorically false, they should

be stricken pursuant to Fed. R. Civ. P. 12(f) because they have nothing to do with whether Iran

violated FSIA as it relates to Plaintiffs. These are the issues to be adjudicated by the Court in the




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underlying lawsuit (not anything to do with GDGS), and it is clear the attacks against GDGS and

Director Ibrahim were included for reasons totally unrelated to the merits of the case.

                                    BACKGROUND FACTS

       The General Directorate presumes the Court’s familiarity with the allegations from

Plaintiffs’ complaint.

                                           ARGUMENT

   A. Although it is not required to do so, GDGS satisfies the requirements for limited
      intervention to protect injury to its reputation

       The Court may strike immaterial and unrelated allegations in a complaint on its own

accord under Fed. R. Civ. P. Rule 12(f). Additionally, GDGS may also seek such relief by

moving to intervene under Rule 24. Under the circumstances of this case—where Plaintiffs’

immaterial claims cause reputational harm to GDGS—limited intervention is appropriate.

       Intervention as of right is appropriate, pursuant to Fed. R. Civ. P. 24(a)(2), where the

party seeking to intervene claims an interest related to the property or transaction that is the

subject of the action, where the disposition of the action may impair or impede the movant’s

ability to protect that interest, and where the movant’s rights are not adequately protected by the

existing parties. See, e.g., Sackman v. Liggett Grp., Inc., 167 F.R.D. 6, 20-21 (E.D.N.Y. 1996)

(potential of injury to reputation of independent organization satisfies Rule 24(a)(2) criteria for

intervention) (citing Penthouse Int’l, Ltd. v. Playboy Enterprises, Inc., 663 F.2d 371, 373 (2d

Cir. 1981) (permitting non-party to intervene pursuant to Rule 24 to protect his “professional

reputation”); see also Jane Doe 1 v. United States, No. 08-CV-80736-KAM, 2015 WL

11254692, at *3 (S.D. Fla. Apr. 7, 2015) (striking scandalous matters pursuant to Rule 12(f) after

third party filed motion for limited intervention pursuant to Rule 24). Here, Plaintiffs’ allegations

concerning nonparty GDGS accuse it and its director of serious crimes of kidnapping, torture and



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killing at the direction or aid of alleged terrorist organizations that have nothing to do with

whether Defendant Iran violated the FSIA as it relates to Plaintiffs. These claims cause GDGS

reputational harm considering the allegations in question are demonstrably false and accuse it of

serious crimes—although, as explained above and below, the facts supporting said allegations of

criminal activity by GDGS do not meet the rigorous definitions of those terms. Furthermore,

given the foreign state (Iran) and party (Hezbollah) with which Plaintiffs have falsely associated

GDGS, including actions to exact physical violence, GDGS has a genuine concern that the false

association of GDGS with said bodies would besmirch GDGS’ reputation and undermine the

public trust in GDGS during the past decades of the organization’s existence—solely based on

the purported allegations espoused in the Complaint.

       For similar reasons, permissive intervention under the Court’s “broad discretion” under

Rule 24(b) is also appropriate to provide GDGS a limited appearance to defend its reputational

interests. See Sackman, 167 F.R.D. at 20-23 (“[T]he Court would be inclined to grant CTR’s

request for limited intervention under either Fed. R. Civ. P. 24(a)(2), or Rule 24(b), based on this

alleged reputation injury,” notes that “[t]he CTR also claims a sufficient interest [to intervene

under Rule 24] based on the potential adverse impact that Judge Boyle’s decision might have on

its reputation as an independent body.”) 167 F.R.D. at 21 (emphasis added). Accordingly, GDGS

claims a sufficient interest based on the adverse impact the allegations in Plaintiffs’ complaint

have and will have on its reputation. Furthermore, there is no cognizable prejudice to the

Plaintiffs or Defendant Iran for GDGS’s limited-purpose intervention in this early-stage

litigation—which was recently filed, and where the defendant has not yet answered. Finally, as

the Court may strike immaterial and scandalous matters on its own initiative, the decision to

grant GDGS’s request for intervention (while appropriate), is ultimately unnecessary.




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    B. The Complaint asserts false, scandalous, impertinent, and highly damaging
       allegations against GDGS that should be stricken

        Under Fed. R. Civ. P. 12(f), “The court may strike from a pleading an insufficient

defense or any redundant, immaterial, impertinent, or scandalous matter.” A matter is

“immaterial or impertinent” when it is irrelevant to the resolution of the issue at hand. See

Larouche v. Dep’t of the Treasury, No. 91-1655, 2000 WL 805214, at *15 (D.D.C. Mar. 31,

2000); Wiggins v. Philip Morris, Inc., 853 F. Supp. 457, 457 (D.D.C.1994) (“[I]f allegations in a

complaint are irrelevant and prejudicial to the defendant, a motion to strike will be granted”). A

pleading is “scandalous” when it “generally refers to any allegation that unnecessarily reflects on

the moral character of an individual or states anything in repulsive language that detracts from

the dignity of the court.” 2 Moore’s Federal Practice § 12.37[3], at 12-97; see also In re

2TheMart.com, Inc. Sec. Litig., 114 F. Supp. 2d 955, 965 (C.D. Cal. 2000) (A matter is

“scandalous where it conveys ‘a cruelly derogatory light on a party or other person.’”). Under

Rule 12(f), the Court may act either by motion made by a party or on its own. See Fed. R. Civ.

P. 12(f).

        Here, as a threshold matter, GDGS is an independent, apolitical Lebanese agency that, (a)

is not Hezbollah, nor an agent of the Hezbollah party, and (b) is not Iran, nor an agent of Iran.

Thus, Plaintiffs’ allegations and bare assertions of such a connection lack any support. As set

forth above, of the many scandalous allegations in the Complaint regarding GDGS, the alleged

connections between GDGS and Iran or GDGS and Hezbollah are nonexistent.

        More importantly, the scandalous allegations against GDGS have no bearing on

Plaintiffs’ claims against Iran and otherwise contain “impertinent details regarding non-parties”

given the alleged conduct by GDGS could not rise to the level of actionable conduct under the

FSIA. See Jane Doe 1, 2015 WL 11254692, at *3 (striking factual allegations of sexual assault,



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that proposed third-party intervenor claimed were defamatory and false, as immaterial,

impertinent, and unnecessary details unelated the claims in the action).

        Plaintiffs claim Mr. Fakhoury was taken hostage, tortured, and “killed” by agents of

Defendant Iran, to wit: GDGS and the Lebanese military judiciary. See Complaint ¶¶ 48-55, 62,

81-101. As a result, Plaintiffs argue that Iran should be stripped of its sovereign immunity in this

instance under the limited exception to the FSIA. Plaintiffs further claim that the alleged conduct

by GDGS and others amounts to intentional infliction of emotional distress (IIED), and that Iran

should account to Mr. Fakhoury’s estate and immediate family members. Id. A victim seeking

relief under this exception must prove: (1) “the foreign state was designated as a state sponsor of

terrorism at the time the act ... occurred,” 28 U.S.C. § 1605A(a)(2)(A)(i)(I); (2) “the claimant or

the victim was, at the time the act ... occurred a national of the United States,” 28 U.S.C. §

1605A(a)(2)(A)(ii)(I); (3) “in a case in which the act occurred in the foreign state against which

the claim has been brought, the claimant has afforded the foreign state a reasonable opportunity

to arbitrate the claim in accordance with the accepted international rules of arbitration,” 28

U.S.C. § 1605A(a)(2)(A)(iii); and (4) an official, employee, or agent of the foreign state, while

acting within the scope of his or her office, employment, or agency, (5) engaged in “an act of

torture, extrajudicial killing, . . . [or] hostage taking” that caused personal injury or death, 28

U.S.C. § 1605A(a)(1); see also Mohammadi v. Islamic Republic of Iran, 782 F.3d 9, 14 (D.C.

Cir. 2015). “Torture,” “hostage-taking,” and “extrajudicial killing” are defined terms in the

FSIA. See 28 U.S.C. § 1605A(h).

        First, Mr. Fakhoury was not “kidnapped” by nor a “hostage” of GDGS as those terms are

defined in the FSIA, given he was lawfully detained for investigatory purposes and ultimately

handed off to another agency responsible for prosecuting the alleged military crimes that he had




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been accused of. “Hostage-taking” is defined as the detention of a person with the threat to kill,

injure or continue to detain said person, “in order to compel a third party, namely, a State, an

international intergovernmental organization, a natural or juridical person, or a group of persons,

to do or abstain from doing any act as an explicit or implicit condition for the release of the

hostage.” 28 U.S.C. § 1605A(h)(2); see Radmanesh v. Gov’t of Islamic Republic of Iran, No. 17-

CV-1708 (GMH), 2019 WL 1787615, at *7 (D.D.C. Apr. 24, 2019), aff’d sub nom. Radmanesh

v. Islamic Republic of Iran, 6 F.4th 1338, 1342 (D.C. Cir. 2021) (“This definition ‘does not

proscribe all detentions,’ but only those intended ‘to force a third party either to perform an act

otherwise unplanned or to abstain from one otherwise contemplated so as to ensure the freedom

of the detainee.’”) (quoting Price v. Socialist People’s Libyan Arab Jamahiriya, 294 F.3d 82, 94

(D.C. Cir. 2002)). Plaintiffs allege that Mr. Fakhoury was “abducted” after he returned to collect

his passport from GDGS investigators a week after it has been seized, due, in part, to allegations

of wrongdoing on Mr. Fakhoury’s part for past, military crimes. However, “this theory lacks

“[t]he essential element” of a “third-party compulsion.” Radmanesh, 6 F.4th at 1342 (citing

Simpson v. Socialist People’s Libyan Arab Jamahiriya, 326 F.3d 230, 234-35 (D.C. Cir. 2003)

(“Simpson alleges that she was held captive and incommunicado for several months, but she

does not allege that Libya’s intended purpose behind her detention was to compel anyone to do

or abstain from doing any act.”). Further, Plaintiffs admit GDGS transferred Mr. Fakhoury to

another entity over which GDGS has no jurisdiction—vitiating any claim that GDGS’s

investigation of Mr. Fakhoury, standing alone, is sufficient to maintain a hostage-taking theory

of liability regarding Plaintiffs’ claims against Defendant Iran.

       Moreover, the quid-pro-quo that Plaintiffs hastily allege (see Complaint ¶¶ 61-62) makes

no logical sense and is belied by public statements from the “quid” at issue: Kassim Tajideen.




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First, Plaintiffs argue that Mr. Fakhoury was released via diplomatic negotiations and the charges

against him (lodged by entities other than movant GDGS) were ultimately dropped. Complaint ¶

61. Then, Plaintiffs claim that Hezbollah denounced and “condemned” Mr. Fakhoury’s release.

Id. Then, in the very next sentence, Plaintiffs speculate that the months-later deportation of

convicted criminal Kassim Tajideen from U.S. custody amounted to a “quid,” for the “quo” of

Mr. Fakhoury’s months-prior release. Id. ¶ 62. However, how could Hezbollah, the entity that

allegedly orchestrated this “hostage taking” and kidnapping, in one breath “condemn” Mr.

Fakhoury’s release, if his release was supposedly conditioned on the occurrence of another

party’s release and deportation? It simply cannot. Second, both Tajideen’s attorneys 1 and the

U.S. State Department have publicly and formally denounced as “false” the claim that Tajideen’s

deportation had anything to do with Mr. Fakhoury’s release. Indeed, the State Department

objected to Mr. Tajideen’s request for a release for medical reasons during the coronavirus

pandemic.2 Again, how could Plaintiffs’ theory that GDGS’s initial, limited interrogation of Mr.

Fakhoury amounted to a “hostage taking” under the FSIA stand, if both sides (Hezbollah and the



1
  De Luce, Dan and Kosnar, Michael, DOJ Appeals Court's Decision To Release Hezbollah Money Man Early, NBC
News, June 27, 2020, https://www.nbcnews.com/politics/justice-department/doj-appeals-court-s-decision-early-
release-hezbollah-money-man-n1232332 (last accessed on November 24, 2021) (“Tajideen’s case has prompted
speculation in Lebanese media that it is somehow linked to an American, Amer Fakhoury, who was released from
prison in Lebanon earlier this year and returned to the United States. Fakhoury was accused of torturing prisoners
during the Israeli occupation of Lebanon as a member of the now-defunct Israeli-backed South Lebanon Army. He
became a U.S. citizen in 2019. But one of Tajideen’s lawyers, William Taylor, told NBC News that his client’s
case was not part of any possible prisoner exchange. ‘There [is] absolutely no truth to rumors that U.S. nationals
abroad are to be released in connection with Mr. Tajideen’s release,’ he said in an email.”) (Emphasis added).
2
  MEE Staff, Convicted Hezbollah financier arrives in Lebanon after early release, Middle East Eye, July 8, 2020,
https://www.middleeasteye.net/news/kassim-tajideen-convicted-hezbollah-financier-returns-lebanon (last accessed
on November 24, 2021) (“Kassim Tajideen, 65, was released by US on medical grounds amid concerns over spread
of coronavirus . . . ‘The fact that he is being released early due to health concerns and removed from the United
States does not diminish the severity of his crime,’ a Treasury spokesperson previously told MEE. . . .The State
Department denied claims that Tajideen's release was linked to that of Fakhoury. ‘We have seen some inaccurate
reports characterising this judicial action as ‘goodwill diplomacy’ or part of a ‘backroom deal’ [related to
Fakhoury's release],’ a State Department spokesperson said last month, when Tajideen was being prepared for
deportation. ‘Those reports are false.’”) (Emphasis added).




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United States) objected to Plaintiffs’ invented quid and quo? Again, it simply cannot stand—and

no “hostage taking” occurred by GDGS, such that said allegations are immaterial and impertinent

to the resolution of this action.

        Next, the admittedly, limited confinement of Mr. Fakhoury and the investigatory tactics

allegedly administered by GDGS (while, again, false) are likewise insufficient to amount to

“torture” as defined in the FSIA. The “definition of torture includes a ‘severity requirement’ that

is ‘crucial to ensuring that the conduct proscribed by the Convention and the TVPA is

sufficiently extreme and outrageous to warrant the universal condemnation that the term ‘torture’

both connotes and invokes.’” Simpson, 326 F.3d at 234 (Simpson “alleges . . . that she was

‘interrogated and then held incommunicado,’ ‘threatened with death ... if [she] moved from the

quarters [where she was] held,’ and ‘forcibly separated from her husband ... [and unable] to learn

of his welfare or his whereabouts.’ Although these alleged acts certainly reflect a bent toward

cruelty on the part of their perpetrators, they are not in themselves so unusually cruel or

sufficiently extreme and outrageous as to constitute torture within the meaning of the [FSIA].”).

“[T]orture does not automatically result whenever individuals in official custody are subjected

even to direct physical assault.” Price, 294 F.3d at 93 (allegations that American citizens were

“kicked, clubbed and beaten” by prison guards, and “interrogated and subjected to physical,

mental and verbal abuse,” during a 105 day prison confinement after arrest, while they “endured

deplorable conditions while incarcerated, including urine-soaked mattresses, a cramped cell with

substandard plumbing that they were forced to share with seven other inmates, a lack of medical

care, and inadequate food” were insufficient to rise to level of “torture”). As the Circuit warned,

“not every instance of excessive force used against prisoners[ ] is torture under the FSIA.” Id.

(emphasis in original). Rather, torture “is a label that is ‘usually reserved for extreme, deliberate




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and unusually cruel practices,’” such as, “sustained, systematic beating, application of electric

currents to sensitive parts of the body, and tying up or hanging in positions that cause extreme

pain.” Id. at 93–94. The allegations as to Mr. Fakhoury’s limited detention by GDGS, while

categorically false, are significantly less severe than those held to be insufficient in Price,

Simpson and Radmanesh. Whether or not Mr. Fakhoury’s subsequent treatment when he was no

longer in GDGS’s custody amount to sufficient allegations are of no moment, given the

allegations as to his time with GDGS, standing alone, are insufficient under the FSIA to amount

to torture—and thus are quintessentially immaterial and worthy of striking.

       Finally, Mr. Fakhoury was not deliberately killed by GDGS by any stretch of the

imagination nor as that phrase is defined in the FSIA. In other words, even if true, the Plaintiffs’

allegations as to GDGS are impertinent because the conduct allegedly attributed to GDGS is

insufficient to meet the rigorous jurisdictional and substantive thresholds for either hostage-

taking, torture or killing under the FSIA. Thus, the scandalous allegations concerning GDGS

would not serve as predicate acts on behalf of defendant Iran for liability under the FSIA, and

thus should be stricken.

        Indeed, other district courts tasked to determine the merits of claims, have stricken, as

immaterial and scandalous, defamatory allegations against third-party, foreign entities with

distant association to the parties or claims in the case. See Estate of Ungar v. Palestinian Auth.,

No. 00 CV-105L, 2003 WL 22012475, at *1 (D.R.I. Aug. 4, 2003) (granting motion to strike

pursuant to Rule 12(f) in ATA case and noting “[t]he materials contained in Defendants’ Motion

for Protective Order and the exhibits thereto constitute a personal attack on counsel in Israel,

bear no relevance to this case, are scandalous, scurrilous and irrelevant to this matter.”); see also

Estate of Ungar v. Palestinian Auth., No. 00-105 L, 2003 WL 21076981, at *1 (D.R.I. Apr. 18,




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2003), aff’d, No. 00 CV-105L, 2003 WL 22012475 (D.R.I. Aug. 4, 2003) (“The court has

reviewed the challenged material and agrees that it is irrelevant and constitutes an effort to

malign Plaintiffs by association. The Motion to Strike is, therefore, well founded.”).

          In other words, even if any or all of Plaintiffs’ allegations about GDGS were accurate

(which most are not), none of their statements have any bearing on the merits of the case in

general. Plaintiffs’ attacks on GDGS cannot and do not advance their claims against the

Defendant Iran—if for no other reason than because they do not allege any connection between

GDGS and Hezbollah, nor any actionable conduct by GDGS regardless of the non-existent

affiliation therewith—and are completely irrelevant to the claims and parties in this action. Here,

as in Estate of Ungar, Plaintiffs’ attempt to taint GDGS by association—merely because it is an

executive agency in Lebanon, with no association with Defendant Iran, and an even further

dissociation with conduct or activities of the designated terrorist organizations referred to in the

Complaint—should not be tolerated.

          As Plaintiffs’ claims do not rise or fall with their (false) allegations concerning GDGS,

and considering Plaintiff’s claims are both scandalous and impertinent, Plaintiff’s claims

concerning GDGS should be stricken pursuant to Rule 12(f), either as a result of this motion, or

on the Court’s own accord.

                                           CONCLUSION

          For the reasons set forth above, Proposed Intervenor GDGS respectfully requests that the

Court grant the instant motion in its entirety. In the alternative, should the Court deny GDGS’s

request to intervene, we respectfully request the Court strike the objectionable provisions sua

sponte.


Dated: November 29, 2021



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